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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

   BOROUGH OF EDGEWATER,                      Case Nos.: 2:14-CV-05060-JMV-JBC
                                              Hon. John M. Vazquez, U.S.D.J.
         Plaintiff,                           Hon. James B. Clark, III, U.S.M.J.

         v.

   WATERSIDE CONSTRUCTION,
   LLC; 38 COAH, LLC; DAIBES
   BROTHERS, INC.; NORTH RIVER
   MEWS ASSOCIATES, LLC; FRED A.
   DAIBES; TERMS
   ENVIRONMENTAL SERVICES,
   INC.; ALCOA INC. (formerly known as
   “Aluminum Company of America”);
   ALCOA DOMESTIC LLC, as                     ARCONIC’S LOCAL CIVIL RULE
   successor in interest to A.P. NEW          56.1 RESPONSE TO THE
   JERSEY, INC.; JOHN DOES 1-100;             ADDITIONAL STATEMENT OF
   and ABC CORPORATIONS 1-100,                UNDISPUTED MATERIAL FACTS
                                              OF DEFENDANTS WATERSIDE
         Defendants,                          CONSTRUCTION, LLC, 38 COAH,
                                              LLC, DAIBES BROTHERS, INC.,
   and                                        NORTH RIVER MEWS
                                              ASSOCIATES, LLC, FRED A.
   WATERSIDE CONSTRUCTION,
                                              DAIBES, AND THIRD-PARTY
   LLC; 38 COAH, LLC; DAIBES
                                              DEFENDANTS RIVER ROAD
   BROTHERS, INC.; NORTH RIVER
                                              IMPROVEMENT PHASE II, INC.
   MEWS ASSOCIATES, LLC; and
   FRED A. DAIBES,

         Defendants/Third-Party Plaintiffs,
         v.

   NEGLIA ENGINEERING
   ASSOCIATES,

         Third-Party Defendant,

   and
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   ALCOA DOMESTIC, LLC, as
   successor in interest to A.P. NEW
   JERSEY, INC.,

         Defendant/Third-Party Plaintiff,
         v.

   COUNTY OF BERGEN and RIVER
   ROAD IMPROVEMENT PHASE II,
   INC., and HUDSON SPA, LLC,

         Third-Party Defendants.
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        Pursuant to Local Civil Rule 56.1, Defendants Arconic Inc, and Arconic

  Domestic LLC (collectively “Arconic”) sets forth the following response to the

  Additional Statement of Undisputed Material Fact of Defendants Waterside

  Construction, LLC, 38 COAH, LLC, Daibes Brothers, Inc., North River Mews

  Associates, LLC, Fred A. Daibes, and Third-Party Defendants, River Road

  Improvement Phase II, Inc. and Plaintiffs North River Mews Associates, LLC, and

  38 COAH, LLC (“Daibes Defendants”).

        1.     Undisputed.

        2.     Arconic does dispute the cited pages state “Alcoa manufactured

  aluminum products . . . including the collapsible toothpaste tube, the 17S-alloy road,

  and sheet metal for World War II aircraft.” (Certification of Malory M. Pascarella,

  dated September 11, 2020 (“Pascarella Cert.”), ¶ 2, Ex. 1, at W009644). However,

  Arconic lacks sufficient information to dispute or affirm the accuracy of that

  statement.

        3.     Undisputed.

        4.     Disputed to the extent that “related to” is intended to mean that the hot

  rolling mill operation was located in Building 12. The hot rolling mill was located

  in Building 11.

        5.     Disputed. The cited pages do not state that Alcoa purchased oils

  containing    Polychlorinated    Biphenyls     (“PCBs”).     Rather,   the    internal


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  correspondence to Mr. M. E. Brooks, dated September 17, 1956, states that “30,000

  gallons of fire resistant fluid were purchased during the past twelve months” and

  “located at twenty-two (22) plants” but does not list “the former Alcoa property” or

  mention PCBs. (Pascarella Cert., ¶ 3, Ex. 2, at A011801). The second

  correspondence to Mr. D. W. Sawyer, dated January 5, 1956, provides a tabulated

  sheet of lubricants in use at the time, but also does not mention PCBs. (Pascarella

  Cert., ¶ 4, Ex. 3, at A11808).

        6.     Arconic objects to this Paragraph as providing insufficient evidence for

  Arconic to dispute or affirm the statements therein, as it cites to a non-sequential

  bates range, “A006626-A005722.” Disputed that the cited deposition testimony of

  Gerard Beck supports that machines located in Building 12 were designed to use

  PCBs. (See Pascarella Cert., ¶ 5, Ex. 4, at 58:3-59:1).

        7.     Arconic objects to this Paragraph as providing insufficient evidence for

  Arconic to dispute or affirm the statements therein, as it cites to a non-sequential

  bates range, “A006626-A005722.”         Arconic disputes that the cited deposition

  testimony of Gerard J. Beck supports that machines and processes in Building 12

  utilized PCBs. (See Pascarella Cert., ¶ 5, Ex. 4, at 58:3-59:1).

        8.     Undisputed.

        9.     Undisputed.

        10.    Undisputed.


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            11.   Undisputed.

            12.   Undisputed.

            13.   Undisputed.

            14.   Disputed that the cited evidence proves that no manufacturing

  processes were undertaken at the site from 1968 to 1983. Arconic further states that

  no evidence adduced in this action either proves or disproves that no manufacturing

  processes were undertaken at the site from 1968 to 1983.

            15.   Undisputed that Amland allegedly discovered the presence of PCBs at

  the Alcoa property. Disputed to the extent that the Paragraph infers that the entire

  Alcoa property was contaminated. PCB contamination was only found in several

  specific areas in specific buildings at the Alcoa property, but was not found in many

  other areas of the buildings at the Alcoa property. (See generally Pascarella Cert., ¶

  6, Ex. 5, at EW03311-3418; Pascarella Cert., ¶ 7, Ex. 6, at EW 03221-3310).

            16.   Undisputed.

            17.   Undisputed.

            18.   Undisputed, except that numerous additional terms were contained in

  the Settlement Agreement between Alcoa and Amland, which Agreement speaks for

  itself.

            19.   Undisputed.




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        20.    Undisputed, except that Daibes Defendants’ paraphrase leaves out

  substantial portions of the Interim Response Action Administrative Consent Order,

  which speaks for itself.

        21.    Undisputed, except that Daibes Defendants’ paraphrase leaves out

  substantial portions of the Interim Response Action Administrative Consent Order,

  which speaks for itself.

        22.    Undisputed.

        23.    Undisputed.

        24.    Undisputed, except that the Daibes Defendants’ paraphrase leaves out

  substantial portions of the Interim Response Action Report, dated September 1991,

  which speaks for itself.

        25.    Undisputed that, in the 1992 Underground Storage Tank Registration

  Questionnaire, Arconic identified only the six USTs. These were the only USTs at

  the Edgewater site of which Arconic personnel were aware at that time. (See

  Pascarella Cert. ¶ 8, Ex. 7, at 711:25-712:20).

        26.    Undisputed that, in the 1992 Annual Certification Questionnaire, AP

  stated “[a]ll tanks removed October/November 1992 . . . .” At the time, AP identified

  only six USTs and removed all of them under NJDEP Closure Approval.

        27.    Undisputed.




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        28.    Undisputed, except that the September 1993 Interim Response Action

  Final Report was also submitted to the NJDEP by William DeStefano, CHMM,

  Consulting Engineer, Metcalf & Eddy, Inc. (Pascarella Cert. ¶ 9, Ex. 8, at EW

  02409).

        29.    Undisputed, except that Daibes Defendants’ paragraph leaves out

  substantial portions of the document, which speaks for itself. Also, Arconic was not

  required to only “remove the contents of any existing underground storage tanks.”

  Rather, among the Requirements of Interim Response Actions was the requirement

  that Arconic “remove the contents of any existing underground or aboveground

  storage tanks.” (Pascarella Cert. ¶ 19, Ex. 9, at EW 02433).

        30.    Undisputed that NJDEP approved A.P.’s proposal for the issuance of

  a No Further Action at the former Alcoa property. Disputed that the approval was

  based on “NJDEP’s review of the certified Sept. 1993 IRAFR, and the representation

  that A.P. had complied with the ACO.” Rather, the letter from NJDEP to Mr. Ewald

  J. Dollhopf III, dated November 7, 1994, states “[t]his approval is based on the

  Department’s review of the certified Interim Response Action Final Report, dated

  September 1993, submitted by Metcalf & Eddy, Inc., and the filing of a Declaration

  of Environmental Restrictions and Grant of Easement.” (Pascarella Cert. ¶ 11, Ex.

  10, at EW 06838).




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        31.    Arconic objects to this Paragraph as providing insufficient evidence for

  Arconic to dispute or affirm the statements therein, as the drawings that the Daibes

  Defendants rely upon for this statement do not reference blueprint drawings

  provided by Ewald Dollhopf, III, to NJDEP, and do not depict the locations of six

  underground storage tanks.

        32.     Disputed, Arconic had no information regarding the former Alcoa

  property after 1968, when it gave up ownership of the property, until 1991 when it

  took ownership back over. (Pascarella Cert., ¶ 12, Ex. 11, at 86:18-87:18). Arconic

  was similarly not aware of the existence of the blueprint drawings that depicted the

  two USTs under Building 12 until 1997. (Pascarella Cert., ¶ 8, Ex. 7, at 704:19-

  705:6). Rather, the “known environmental condition” of the Property was defined in

  the Purchase and Sale Agreement. (Certification of Dana B. Parker, dated September

  11, 2020 (“Parker Cert.”) ¶ 5, Ex. 4 at § 7(c)).

        33.    Arconic does not dispute that its personnel were unaware of the

  existence of the drawings showing the potential existence of two USTs under

  Building 12 until 1997 (Pascarella Cert., ¶ 8, Ex. 7, at 704:19-705:6), that in the

  Annual Certification and Registration Questionnaire submitted on September 20,

  1993, Arconic identified only the six USTs identified and removed under NJDEP

  Closure Approval as part of the site-wide ACO because they were the only USTs at

  the Edgewater site of which Arconic personnel were aware at that time (see


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  Pascarella Cert. ¶ 8, Ex. 7, at 711:25-712:20), and that Arconic is aware of no facts

  indicating that it was not in possession of the drawings showing the potential

  existence of two USTs under Building 12 in 1993.

        34.    Arconic objects to this Paragraph as providing insufficient evidence

  for Arconic to dispute or affirm the statements therein, as it cites to no evidence to

  support the statements.

        35.    Undisputed.

        36.    Undisputed.

        37.    Arconic disputes the characterization of the cited document in this

  Paragraph. Pursuant to the Multi-Party Property Acquisition Agreement, Arconic

  agreed that “A.P.’s total liability for demolition of the structures and disposal of

  waste material will not exceed $12,000,000.00.” (Parker Cert. ¶ 11, Ex. 10 at ¶ 3)

  (emphasis added). As a condition to this funding, A.P. and the County of Bergen

  “shall review and approve the demolition and remediation plan prepared by RRIP

  and approved by [NJDEP], which shall, when completed and approved, provide and

  guarantee to A.P. and Alcoa the issuance of a No Further Action letter from DEP in

  form acceptable to A.P.” (Parker Cert. ¶ 11, Ex. 10).

        38.    Disputed. The parties to the Purchase and Sale Agreement agreed “that

  the Environmental Reports and any and all reports, analyses, surveys, assessments,

  evaluations or the like prepared by [North River Mews] and its representatives


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   pursuant to Section 7(d) [of the Agreement] will establish the known environmental

   condition of the Property as of the Closing Date.” (Parker Cert. ¶ 5, Ex. 4 § 7(c)).

   The environmental reports provided to North River identified site-wide

   contamination and reported that Building 12 comprised the most contaminated

   portions of the former Arconic site. (Parker Cert. ¶ 5, Ex. 4 § 7(c)), Schedule 7C)).

   The Purchase and Sale Agreement also states: “OTHER THAN THE

   REPRESENTATION AND WARRANTY SET FORTH IN [SECTION 5, NORTH

   RIVER MEWS] SPECIFICALLY ACKNOWLEDGES THAT [ALCOA] IS

   SELLING AND [NORTH RIVER MEWS] IS PURCHASING THE PROPERTY

   ON AN “AS IS, WITH ALL FAULTS” BASIS AND THAT [NORTH RIVER

   MEWS] SHALL HAVE AN OPPORTUNITY TO INSPECT THE PROPERTY

   AND IS NOT RELYING ON ANY REPRESENTATIONS OR WARRANTIES OF

   ANY KIND WHATSOEVER . . . AS TO ANY MATTERS CONCERNING THE

   PROPERTY[.]” (Parker Cert. ¶ 5, Ex. 4 § 5(b)).

         Furthermore, the parties entered into subsequent agreements that addressed

   environmental contamination at the property. (See Parker Cert. ¶ 15, Ex. 14 at

   A001506) (“AP has also agreed to pay for all costs of transportation and disposal of

   PCB contaminated rubble up to a total amount of $2,750,000.”); Parker Cert. ¶ 18,

   Ex. 17 at A001532 (“North River and River Road shall indemnify, defend and hold

   A.P. harmless from any and all claims, demands, causes of actions, and suit or suits


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   . . .occurring at any time before, during or after North River’s ownership of the

   Property, relating to Building 12 and the land under and adjacent thereto, . . .

   including, but not limited to, remediation and disposal costs and expenses related to

   PCBs.”)).

         39.    Disputed. Alcoa alone did not claim the environmental reports

   “established the known environmental condition of the Property.” Rather, among

   other terms and conditions, the 1997 Purchase and Sale Agreement expressly states

   that “[Alcoa] shall make available to [North River] the reports listed on Schedule

   7(c) . . . concerning the environmental condition of and contamination in, on, under,

   or about the Property (the ‘Environmental Reports’). The parties agree that the

   Environmental Reports and any and all reports, analyses, surveys, assessments,

   evaluations or the like prepared by [North River] and its representatives . . . will

   establish the known environmental condition of the Property as of the Closing Date.”

   (Parker Cert. ¶ 5, Ex. 4 at A001392 § 7(c)) (emphasis added).

         40.    Undisputed.

         41.    Disputed. Pursuant to the Purchase and Sale Agreement, the parties

   agreed that North River would “have an opportunity to inspect the property and is

   not relying on any representation or warranties of any kind whatsoever . . . as to any

   matters concerning the property.” (Parker Cert. ¶ 5, Ex. 4 at A001389 § 5(b)). The

   parties further agreed that “the Environmental Reports and any and all reports,


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   analyses, surveys, assessments, evaluations or the like prepared by [North River]

   and its representatives . . . will establish the known environmental condition of the

   Property as of the Closing Date.” (Parker Cert. ¶ 5, Ex. 4 at A001392 § 7(c)).

         42.     Undisputed, that the Daibes Defendants proffered testimony on this

   topic, except that the Daibes Defendants’ paraphrase leaves out substantial portions

   of the deposition testimonies of Fred Daibes and Irving David Cohen, which speak

   for themselves.

         43.     Arconic disputes Daibes Defendants’ characterization of the

   referenced documents. First, the testimony of Irving David Cohen cited by Daibes

   Defendants does not support the assertion that Enviro-Sciences was provided the

   “1993 IRAFR.” Rather, Mr. Cohen testified that he reviewed many “sampling

   reports or environmental reports.” (Pascarella Cert., ¶ 13, Ex. 12, at 11:14-11:19).

   Second, the 1993 IRAFR did not expressly “state[] that all underground storage

   tanks had been located and that none remained at the former Alcoa property.” Rather,

   the document stated “[a] total of six (6) underground storage tanks were located . . .

   [and] APNJ . . . remov[ed] the tank contents and all six of the existing USTs.”

   (Pascarella Cert., ¶ 10, Ex. 9).

         44.    Arconic objects to this statement to the extent it fails to identify an

   applicable time period and therefore, disputes that neither the Waterside Parties nor




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   Enviro-Sciences were aware that USTs were under Building 12. (See Pascarella

   Cert., ¶ 2, Ex. 1, at W009657).

         45.       Disputed. Before the sale of the property, Alcoa provided historic

   maps, diagrams, environmental reports, and blueprints of the former Alcoa property

   to North River, which indicated two storage tanks were present under Building 12.

   (Parker Cert. ¶ 8, Ex. 7; Parker Cert. ¶ 9, Ex. 8; Parker Cert. ¶ 10, Ex. 9).

         46.    Disputed. Arconic personnel were not aware of the drawings that

   illustrated the potential existence of the two USTs under Building 12 until 1997.

   (Pascarella Cert. ¶ 8, Ex. 7, at 711:25-712:20; 728:10-728:21). Upon becoming

   aware of these drawings, Arconic provided them to Amir Daibes. (See Parker Cert.

   ¶ 8, Ex. 7) (stating “all maps & drawings & microfilm sent to Amir”); (Parker Cert.

   ¶ 10, Ex. 9) (enclosing microfilm blueprints and indicating that drawings would be

   sent under separate cover); (Pascarella Cert., ¶ 14, Ex. 13) (drawings of USTs under

   Building 12).

         47.    Arconic disputes the Daibes Defendants’ characterization of Irving

   David Cohen’s testimony. Mr. Cohen did not testify that “Enviro-Sciences would

   not look for underground storage tanks if they had received reports representing that

   no underground storage tanks remained on site.” Rather, Mr. Cohen testified that “if

   a report was given to us that identified underground storage tanks that were removed,

   unless we were asked to redo that kind of work the answer would be no, we would


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   not recommend going in and looking for more tanks.” (Pascarella Cert. ¶ 13, Ex.

   12, at 94:11-94:15) (emphasis added).

         48.   Undisputed.

         49.   Undisputed that, pursuant to the Memorandum of Agreement, North

   River Mews Associates, as well as Alcoa, were required to “notify the [NJDEP]

   immediately upon knowledge of any condition posing an immediate threat to human

   health and/or the environment.” (Pascarella Cert. ¶ 15, Ex. 14, at EW 06622 ¶ 14).

   Arconic further states that numerous additional requirements, understandings, and

   other terms were contained in the MOA, which speaks for itself. (Id.).

         50.   Disputed. Arconic did not play a role in the decision to demolish

   Building 12; that decision was made solely by Mr. Daibes. (Pascarella Cert., ¶ 16,

   Ex. 15, at 471:18-474:4). Rather, pursuant to the Funding Agreement, Arconic

   would withhold $500,000 of demolition funding to respond to the potential that

   Building 12 would not be demolished. (Parker Cert. ¶ 15, Ex. 14, A001506). (See

   also Parker Cert. ¶ 18, Ex. 17) (“North River presently does not intend to demolish

   Building 12.”) (emphasis added). However, no one involved in the demolition of

   Building 12 notified Arconic that it was ultimately demolished. (Parker Cert. ¶ 3,

   Ex. 2).

         51.     Disputed. The Funding Agreement, dated September 23, 1997 did not

   memorialize “Alcoa’s and North River’s decision not to demolish Building 12.”


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   (Parker Cert. ¶ 15, Ex. 14) (“[T]o the extent that Building 12 is not demolished, A.P.

   shall withhold or cause Bergen County to withhold payment of $500,000 of the

   demolition funding . . .”). Rather, Arconic entered the Funding Agreement after

   learning “there was some possibility that the Daibes brothers might not decide to

   demolish Building 12” since the parties previously “agreed to a scheduled payment

   that provided for $500,000 associated with Building 12.” (Parker Cert. ¶ 3, Ex. 2, at

   473:180-474:4). Arconic did not play a role in the decision to demolish Building 12;

   that decision was made solely by Mr. Daibes. (Parker Cert. ¶ 3, Ex. 2, at 472:18-

   474:4).

         52.    Arconic disputes Daibes Defendants’ characterization of the

   Environmental Indemnity Agreement. The purpose of the Environmental Indemnity

   Agreement “was to make absolutely clear that in the event that the Daibes entities

   ultimately decided not to demolish Building 12 that all provisions and agreements

   of prior documents surrounding the transaction, including the full release and

   indemnity of Alcoa for the site, would apply.” (Parker Cert. ¶ 3, Ex. 2, at 512:17-

   512:4). (See also Parker Cert. ¶ 18, Ex. 17, A001533) (“In addition to and

   notwithstanding any other agreement or obligation of the parties, to the extent that

   Building 12 is not demolished, North River and River Road shall indemnify, defend

   and hold A.P . harmless from any and all claims, demands, causes of action, and suit

   or suits, including all foreseeable and unforeseeable consequential damages,


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   occurring at any time before, during or after North River’s ownership of the

   Property, relating to Building 12 . . . .including, but not limited to, remediation and

   disposal costs and expenses related to PCBs.”)

         53.    Arconic objects to this Paragraph as providing insufficient evidence for

   Arconic to dispute or affirm the statements therein, as it cites to no evidence to

   support the statements.

         54.    Disputed. Any marking and remediation of Building 12 was conducted

   by North River’s and RRIP’s environmental consultant, Enviro-Sciences, and

   supervised, inspected, and approved by Bergen County. (Parker Cert. ¶ 11, Ex. 10,

   ¶¶ 2, 4, 20; see also Parker Cert. ¶ 12, Ex. 11; Pascarella Cert. ¶ 16, Ex. 15 (“Bergen

   County was acting as the inspector and the verifier.”); Pascarella Cert. ¶ 17, Ex. 16,

   at 949:22-951:4 (“So when [Alcoa] drafted the multiparty agreement, again, our

   intention was we wanted Bergen County right in the middle of this thing. We wanted

   them to be responsible to inspect, to approve, and actually to guarantee. . . Alcoa

   didn’t want to have anybody on-site.”).

         55.    Undisputed except that Daibes Defendants’ paraphrase leaves out

   substantial portions of the Remedial Investigation Report Remedial Action

   Workplan, which speaks for itself.

         56.    Disputed. ENVIRO003257 and ENVIRO003265 do not support that

   samples indicated that there were PCBs in the “foundation walls” at levels between


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   .070 ppm and 1.000 ppm. Rather, the documents indicate samples were taken from

   exterior wall panels within an above-ground two-story space and a partial basement

   underlying the eastern portion of the building. (Pascarella Cert. ¶ 18, Ex. 17).

         57.    Arconic disputes the Daibes Defendants characterization that walls

   containing “low levels” of PCBs were painted with epoxy. Pursuant to Enviro-

   Sciences’ Remedial Action Report, dated August 2002, “[w]alls adjacent to the floor

   panels that . . . were suspected of having been contaminated with low levels of

   PCBs” were removed. “Walls adjacent to existing floor panels were determined to

   be less contaminated.” (Pascarella Cert. ¶ 19, Ex. 18).

         58.    Disputed that that the NJDEP approved of “capping” by Enviro-

   Sciences. Rather, the NJDEP approved a Remedial Action Workplan which required

   sealing the interior surface of the exterior walls on the first floor and in the basement

   of Building 12, washing the walls with biodegradable detergent, and coating of the

   walls with two applications of epoxy paint to encapsulate the PCBs within the

   concrete walls. (Parker Cert. ¶ 17, Ex. 16).

         59.    Arconic disputes that the portion of the former Alcoa property was

   mistakenly not deeded to North River. Rather, numerous documents were submitted

   to NJDEP in 30 COAH’s name regarding the site, including Building 12. (Pascarella

   Cert. ¶ 20, Ex. 19). As to the reason for why the former Alcoa property was




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   subdivided, Arconic lacks sufficient information to dispute or affirm the accuracy of

   that statement.

         60.    Undisputed that the cited document supports the statement that

   Building 12 was subdivided “to redevelop the West Lot to low income housing”

   W076334, and “ESI was instructed to file [a] Termination of Deed Notice,”

   W076335. Disputed that the cited pages and testimony state that “[i]n 2010, Enviro-

   Sciences was retained to terminate the Deed Notice on Building 12.” (Pascarella

   Cert. ¶ 21, Ex. 20).

         61.     Undisputed.

         Veterans Field Background

         62.     Undisputed.

         63.     Undisputed.

         64.     Undisputed     that   TERMS       Environmental      Services,    Inc.’s

   Site/Remedial Investigation Report dated October 25, 2011, reflects that TERMS

   was hired to conduct a Site Investigation and prepare a Site Investigation Report, but

   Arconic has insufficient evidence to dispute or affirm the accuracy of that statement.

         65.     Undisputed.

         66.     Undisputed except that Daibes Defendants’ paraphrase leaves out

   substantial portions of TERMS Environmental Services, Inc.’s Site/Remedial

   Investigation Report, dated October 25, 2011, which speaks for itself.


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         67.     Undisputed except that Daibes Defendants’ paraphrase leaves out

   substantial portions of TERMS Environmental Services, Inc.’s Site/Remedial

   Investigation Report, dated October 25, 2011, which speaks for itself.

         68.     Undisputed     that   TERMS        Environmental      Services,    Inc.’s

   Site/Remedial Investigation Report, dated October 25, 2011, included the

   recommendations stated in this Paragraph, among others. Disputed that TERMS

   recommended “hot spot” remediation in only four locations. Rather, TERMS

   recommended that “‘hot spot’ remediation be performed at the vanadium, nickel,

   and four PCB locations.” (Pascarella Cert., ¶ 22, Ex. 21, EW 12357).

         69.     Undisputed     that   TERMS        Environmental      Services,    Inc.’s

   Site/Remedial Investigation Report dated October 25, 2011, included the

   recommendations stated in this Paragraph, among others.

         70.    Arconic disputes Daibes Defendants’ paraphrase of Mr. Daibes’s

   testimony to the extent Mr. Daibes did not testify that TERMS did not properly test

   the field for PCBs prior to the remediation. Rather, Mr. Daibes stated, “[Roger]

   Ferguson took a position that he got the samples that TERMS had done of the field

   and it was like maybe 16, 17 different spots that he took samples, and TERMS --

   and Ferguson believed that there should have been a hundred to 150 samples done,

   based on a certain type of a grid.” (Pascarella Cert., ¶ 23, Ex. 22, at 163:19-163:25).

   Arconic also objects to the extent that the report of David Hoffman is cited as


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   authority for this statement, inasmuch as Mr. Hoffman’s opinions in this case are

   inadmissible and should be stricken pursuant to Fed. R. Evid. 702.

         71.    Undisputed.

         72.    Undisputed.

         73.    Undisputed.

         74.    Undisputed.

         75.    Undisputed.

         76.    Undisputed that Fred Daibes testified that he did not have discussions

   with Waterside employees about finding a source of fill material. (Pascarella Cert.,

   ¶ 23, Ex. 22, at 133:16-21). However, Arconic lacks sufficient information to dispute

   or affirm the accuracy of this statement.

         77.    Arconic objects to this paragraph to the extent the Daibes Defendants’

   reference to “the contract” is undefined. Arconic also disputes that the cited pages

   state that “[o]n or about July 9, 2012, Waterside began performing pursuant to the

   contract.” Rather, the letter from Gregory S. Franz, dated June 26, 2012, provides

   that the “tentative start date of the remediation and restoration of Veterans Field is

   the week of Monday, July 9, 2012.” (Parker Cert. ¶ 39; Ex. 28) (emphasis added).

         78.    Undisputed.

         79.    Undisputed, except that Arconic objects to the extent that the report of

   David Hoffman is cited as authority for this statement, inasmuch as Mr. Hoffman’s


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   opinions in this case are inadmissible and should be stricken pursuant to Fed. R.

   Evid. 702.

         80.    Undisputed.

         81.    Undisputed that the cited testimony of Fred Daibes, Matthew Vereb,

   and Kenneth Schiller reflect that Waterside Construction had discussions with

   TERMS about utilizing recycled crushed concrete at Veterans Field. However,

   Arconic lacks sufficient information to dispute or affirm the accuracy of this

   statement.

         82.    Undisputed that the cited testimony of Fred Daibes, Mark Iafelice, and

   Kenneth Schiller reflect that TERMS informed Waterside Construction that it could

   place crushed concrete under the parking lots and other hard, impervious surfaces.

   However, Arconic lacks sufficient information to dispute or affirm the accuracy of

   this statement.

         83.    Undisputed that the cited testimony of Matthew Vereb and Kenneth

   Schiller reflects that the recycled concrete material did not need to be tested if it

   would be placed under a capped hard surface. (Pascarella Cert. ¶ 24; Ex. 23, at 95:8-

   95:11; Pascarella Cert. ¶ 25; Ex. 24, at 39:1-41:25). However, Arconic lacks

   sufficient information to dispute or affirm the accuracy of that statement.

         84.    Undisputed that the cited testimony of Matthew Vereb and Fred Daibes

   reflects that Waterside sought permission from TERMS to utilize material from


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   Building 12. (Pascarella Cert. ¶ 22; Ex. 22, at 79:15-20; Pascarella Cert. ¶ 24; Ex.

   23, at 93:25-94:17). However, Arconic lacks sufficient information to dispute or

   affirm the accuracy of this statement.

         85.    Undisputed that the cited testimony of Kenneth Schiller reflects that

   Mr. Daibes was not involved in the decision to use recycled concrete asphalt

   (“RCA”) from Building 12 as fill. (Pascarella Cert. ¶ 25; Ex. 24, at 114:8-21; 120-

   12-20). However, Arconic lacks sufficient information to dispute or affirm the

   accuracy of this statement.

         86.    Undisputed that the cited testimony of Fred Daibes reflects that, under

   the supervision of TERMS, Waterside place recycled crushed concrete from the

   former Alcoa property under the southern parking lot of Veterans Field. However,

   Arconic lacks sufficient information to dispute or affirm the accuracy of this

   statement.

         87.    Undisputed that the testimony of Kenneth Schiller reflects that Mark

   Iafelice instructed Waterside Construction employees to bring recycled concrete

   aggregate from Building 12 and did not receive authorization from others as to

   whether it was appropriate. However, Arconic lacks sufficient information to

   dispute or affirm the accuracy of this statement.

         88.    Undisputed that the testimony of Matthew Vereb reflects that

   Waterside Construction brought recycled concrete aggregate from the former Alcoa


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   property to Veteran’s Field over approximately two weeks and only spread fill

   material under impervious surfaces. (Pascarella Cert. ¶ 26, Ex. 25, at 237:1-238:25).

   However, Arconic lacks sufficient information to dispute or affirm the accuracy of

   this statement.

          89.   Undisputed.

          90.   Undisputed that the testimony of Kenneth Schiller reflects that material

   from Building 12 was not blended with other material at Veterans Field. (Pascarella

   Cert. ¶ 25, Ex. 24, at 50:3-50:8). However, Arconic lacks sufficient information to

   dispute or affirm the accuracy of this statement.

          91.   Arconic lacks sufficient information to dispute or affirm the accuracy

   of this statement, except that the Daibes’ Defendants paraphrase of Mr. Schiller’s

   testimony leaves out facts that support on September 6, 2013, Mr. Schiller advised

   Jason Menzella, the Site supervisor for Neglia Engineering Associates, that it would

   not be performing any work on Saturday, September 7, 2013. (Parker Cert. ¶ 46, Ex.

   45).

          92.    Disputed to the extent that Kenneth Schiller testified that “[he did not]

   know one or way the other . . . where any of the material . . . came from.” (Pascarella

   Cert. ¶ 25, Ex. 24, at 128:12-128:17). Arconic otherwise lacks sufficient information

   to dispute or affirm the accuracy of this statement.




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         93.     Undisputed that the testimony of Kenneth Schiller reflects that he

   believed the material depicted in the picture labeled EW21288 was clean stone based

   on the color and consistency. (Pascarella Cert. ¶ 25, Ex. 24, at 136:1-136:25).

   Arconic lacks sufficient information to dispute or affirm the accuracy of this

   statement

         94.     Disputed. Waterside located and arranged for specific fill materials to

   be hauled to the site, sometimes in consultation with TERMS, and sometimes

   hauling and depositing untested material that had not been cleared by TERMS.

   (Pascarella Cert. ¶ 24, Ex. 23, at 36:6-42:20). In September 2013, Waterside was

   having difficulty sourcing certified clean fill in connection with its work at Veterans

   Field and so had decided to use crushed concrete from the demolition of Building

   12 as fill. (Parker Cert. ¶ 15, Ex. 14, at 133:16-143:23; see also Parker Cert. ¶ 46,

   Ex. 45, at 48:6-50:16; Parker Cert. ¶ 47, Ex. 46, at 96:14-96:25).

         Discovery of Previously Undisclosed USTs

         95.     Undisputed, except that Arconic does not understand what is meant by

   “foundation walls,” inasmuch as neither construction drawings nor photographs of

   the demolition process reflected the existence of anything that could be accurately

   described as “foundation walls.”

         96.     Arconic disputes that the foundation walls were ever tested, and

   therefore, disputes that they were “the only walls known to contain PCBs at the time


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   Building 12 was demolished.” Rather, only the floors and walls above ground and

   in the partial basement of Building 12 were sampled and tested for the presence of

   PCBs. (Pascarella Cert. ¶ 18, Ex. 19, at ENVIRO_003223; see also Parker Cert. ¶ 5,

   Ex. 4, at § 7(c)).

           97.   Disputed. Pursuant to the Remedial Action Workplan, Waterside and

   North River coated the walls known to contain PCBs with epoxy paint. The epoxy

   coated walls were not removed before the entire structure was demolished, and the

   PCBs within them were never remediated. The walls were also annotated so each

   wall panel could be matched with the results of the testing of the materials in the

   wall panel for PCBs. (Parker Cert. ¶ 19, Ex. 18, at EW04327). Therefore, North

   River knew it was demolishing walls that were marked and identified as containing

   PCBs.

           98.   Disputed. Arconic’s obligation was limited to pay “$2,750,000 for

   transportation and disposal of PCB containing materials in excess of 50 ppm.”

   (Parker Cert. ¶ 15, Ex. 14, at A001504). Also, North River knew that the portions

   of Building 12 it was demolishing contained PCBs. Pursuant to the Remedial Action

   Workplan, Waterside and North River coated the walls known to contain PCBs with

   epoxy paint. The epoxy coated walls were not removed before the entire structure

   was demolished, and the PCBs within them were never remediated. The walls were

   also annotated so each wall panel could be matched with the results of the testing of


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   the materials in the wall panel for PCBs. (Parker Cert. ¶ 19, Ex. 18, at EW04327).

   Therefore, North River knew it was demolishing walls that were marked and

   identified as containing PCBs.

         99.    Disputed. Arconic personnel provided to North River in 1997 drawings

   that showed the two USTs under Building 12. (See Parker Cert. ¶ 9, Ex. 8, A003144-

   45) (stating “all maps & drawings & microfilm sent to Amir”); Parker Cert. ¶ 9, Ex.

   10, at A003136-A003142 (enclosing microfilm blueprints and indicating that

   drawings would be sent under separate cover); drawings of USTs under Building

   12); Pascarella Cert. ¶ 14, Ex. 13, at A003731). Arconic can neither dispute nor

   affirm the remainder of this Paragraph inasmuch as the USTs were removed and

   destroyed by Waterside or at its direction months before Arconic was notified of the

   discovery of the USTs.

         100. Arconic can neither dispute nor affirm the statement in this Paragraph

   inasmuch as the USTs were removed and destroyed by Waterside or at its direction

   months before Arconic was notified of the discovery of the USTs.

         101. Arconic can neither dispute nor affirm the statement in this Paragraph

   inasmuch as the USTs were removed and destroyed by Waterside or at its direction

   months before Arconic was notified of the discovery of the USTs.

         102.   Arconic can neither dispute nor affirm this Paragraph inasmuch as the

   material inside the tanks and the tanks themselves were removed and destroyed by


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   Waterside or at its direction months before Arconic was notified of the discovery of

   the USTs, and Arconic therefore had no ability to verify or refute what PennJersey

   Environmental Consulting reported.

         103.   Arconic can neither dispute nor affirm this Paragraph inasmuch as the

   material inside the tanks, the tanks themselves, and any allegedly contaminated

   concrete and soil surrounding them were removed and destroyed by Waterside or at

   its direction months before Arconic was notified of the discovery of the USTs, and

   Arconic therefore had no ability to verify or refute what PennJersey Environmental

   Consulting reported.

         104.   Arconic objects to this statement inasmuch as the cited pages do not

   indicate that “[t]he previously undisclosed USTs were installed by Alcoa and

   utilized by Alcoa in its operations at the former Alcoa property.” (See Pascarella

   Cert. ¶ 14, Ex. 13, at A003731).

         105.   Arconic objects to this statement inasmuch as it does not cite to any

   document that indicates “[n]one of the environmental assessments . . . indicated the

   presence of the USTs underneath Building 12,” nor does it explain what is meant by

   “environmental assessments.” Further, Arconic personnel provided to North River

   in 1997 drawings that showed the two USTs under Building 12. (See Parker Cert. ¶

   9, Ex. 8, at A003144-45 (stating “all maps & drawings & microfilm sent to Amir”);

   Parker Cert. ¶ 10, Ex. 9, at A003136-A003142 (enclosing microfilm blueprints and


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   indicating that drawings would be sent under separate cover; drawings of USTs

   under Building 12); Pascarella Cert. ¶ 14, Ex. 13, at A003731).

         106. Denied. Google Earth photographs of the site while the demolition was

   in progress show that the access manways were uncovered and, therefore, the

   existence of the USTs revealed, before Waterside removed any material from around

   the USTs. (Pascarella Cert. ¶ 27, Ex. 26).

         107. Arconic can neither dispute nor affirm this Paragraph inasmuch as the

   material inside the tanks, the tanks themselves, and any allegedly contaminated

   concrete and soil surrounding them were removed and destroyed by Waterside or at

   its direction months before Arconic was notified of the discovery of the USTs,

   although Arconic disputes that any material within the USTs could have

   contaminated the floors of Building 12 above the USTs inasmuch as leaking oil does

   not travel upward, and photos of the demolition of Building 12 and the uncovering

   of the USTs show no contamination of the soils above and around the USTs.

   (Pascarella Cert. ¶ 27, Ex. 26).

         108. Disputed. None of the concrete or soils allegedly impacted by material

   from the USTs was deposited at Veterans Field. (Parker Cert. ¶ 32, Ex. 31, at

   W009445-50; Parker Cert. ¶ 48, Ex. 47, W000174).

         109.    Disputed, inasmuch as the cited testimony of Fred Daibes is that he

   “[did not] know how much the removal of the underground storage tanks cost” but


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   “[o]ff the top of [his] head it was “[a] million dollars approximately,” which is not

   competent or admissible proof of the cost of the removal and disposal of the USTs.

   (Pascarella Cert. ¶ 27, Ex. 26, at 100:23-101:2).

         110. Disputed. Kevin McKnight testified that there was no oral

   communications “between September 15, 2003, and the date that the Complaint was

   filed” between “Alcoa, Fred Daibes or any of the Daibes entities.” (Pascarella Cert.

   ¶ 16, Ex. 15, at 542:13-542:21). Undisputed that North River’s attorney’s sent an

   email to Arconic, but this did not constitute written notice under the contract.

         111. Undisputed.



   Dated: September 11, 2020
                                                  Respectfully submitted,

                                                  K&L GATES LLP

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